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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

              v.                               Crim No. 17-232 (EGS)

 MICHAEL T. FLYNN,

                              Defendant.



             GOVERNMENT’S UNOPPOSED MOTION TO RESCHEDULE
                          STATUS CONFERENCE

       The United States of America, by and through the U.S. Attorney for the District of

Columbia, respectfully requests that the Court reschedule the status conference presently set for

June 19, 2019, to June 24, 2019. Unfortunately, lead government counsel is out of town during

the week of June 17, 2019 and, as such, will be unable to appear on the date set by the Court.

The defendant’s retained counsel has no objection to this request.

                                                     Respectfully submitted,

                                                     JESSIE K. LIU
                                                     United States Attorney

                                                     By: /s/
                                                     Brandon L. Van Grack
                                                     U.S. Department of Justice
                                                     950 Pennsylvania Ave., NW
                                                     Washington, DC 20530

                                                     Deborah A. Curtis
                                                     Assistant United States Attorney
                                                     555 4th Street NW
                                                     Washington, DC 20530



Dated: June 14, 2019
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                            CERTIFICATE OF SERVICE

       I, Deborah A. Curtis, hereby certify that on June 14, 2019, I caused a copy of the

foregoing filing to be transmitted to Sidney Powell, retained counsel for the defendant.



                                                     By: /s/
                                                     Deborah A. Curtis
                                                     Assistant United States Attorney
                                                     555 Fourth Street NW
                                                     Washington D.C. 20530




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